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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA


    UNITED STATES OF AMERICA

           v.                                            Case No. 19-20450-CR-Scola

    ALEX NAIN SAAB MORAN, et al.,
                                                         [PROPOSED]
        Defendants.


                  ORDER GRANTING MOTION TO COMPEL DISCOVERY
                       AND SETTING PRODUCTION SCHEDULE

          This cause has come before the Court on the Motion to Compel Production of Discovery

   Materials filed by Defendant Alex Nain Saab Moran. This Court having considered the Motion

   and all related briefing, and having considered the relevant factors, it is hereby ORDERED AND

   ADJUDGED that:

          The motion is GRANTED. The Government must provide to the Defendant all

   unclassified Brady and Giglio materials as follows:

          (i)     immediately produce all materials relating to the summary of information in the
                  August 15, 2022, letter provided to counsel for Mr. Saab (with appropriate
                  redactions to protect the identity of any DEA source(s) of information);

          (ii)    produce all unclassified responsive materials in the custody, possession, or control
                  of the Department of Justice, including the Office of International Affairs and
                  National Security Division, and all unclassified Department of State documents
                  by September 9, 2022;

          (iii)   search for and produce by all unclassified responsive materials in the custody,
                  possession, or control of DEA/FBI/HSI/CBP, including documents (as defined by
                  Fed. R. Civ. P. 34) emails, texts, memoranda, electronic communications, and
                  notes by October 7, 2022;

          (iv)    produce all unclassified responsive Department of Defense materials by October
                  7, 2022;

          (v)     search for and produce all responsive unclassified Department of the Treasury
                  materials by October 7, 2022; and
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         (vi)   all other unclassified materials responsive to Defendant’s discovery requests must
                be produced by October 14, 2022.

   DONE AND ORDERED at Miami, Florida, on ___________ ____, 2022.


                                                             _______________________
                                                             Robert N. Scola, Jr.
                                                             United States District Judge
